              CaseCase
                   1:08-cv-10934-LAP
                       17-3251, Document
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                                                                                        S.D.N.Y. – N.Y.C.
                                                                                              Forrest, J.*


                               United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
                                            _________________

                    At a stated term of the United States Court of Appeals for the Second
      Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
      in the City of New York, on the 5th day of January, two thousand eighteen.

      Present:                                                     USDC SDNY
                    Rosemary S. Pooler,                            DOCUMENT
                    Richard C. Wesley,                             ELECTRONICALLY FILED
                    Peter W. Hall,                                 DOC #:   _________________
                                                                                Jan. 05, 2018
                                                                   DATE FILED: ______________
                          Circuit Judges.

                                                  17-3243, 17-3251, 17-3254, 17-3255, 17-3258,
      In re 650 Fifth Avenue                      17-3260, 17-3261, 17-3262, 17-3264, 17-3265,
      and Related Properties                      17-3267, 17-3268, 17-3269, 17-3271, 17-3272,
                                                  17-3276, 17-3278, 17-3304


      Appellees move for partial reconsideration of the Court’s November 16, 2017 order granting
      Appellants’ motion for a stay pending appeal in each of these cases. We construe the motions for
      partial reconsideration as petitions for panel rehearing. Upon due consideration, it is hereby
      ORDERED that the construed petitions are GRANTED, in part, and DENIED in remaining part.
      See Fed. R. App. P. 40(a)(2), (a)(4)(C); United States v. Monsanto, 491 U.S. 600 (1989); Caplin
      & Drysdale, Chartered v. United States, 491 U.S. 617 (1989).

      The order entered in these cases on November 16, 2017 is hereby MODIFIED as follows.

      The following paragraph is STRICKEN from page 2:

             (e)   In the event that distributions are made to the Alavi Foundation, the Trustee
                   shall review and approve any disbursements by the Alavi Foundation from
                   said distributions as outlined below.

      The sixth paragraph and its subparagraphs on page 3 are STRICKEN and REPLACED with the


      * The relevant district court docket numbers are: 08-cv-10934; 09-cv-165; 09-cv-166; 09-cv-553;
      09-cv-564; 09-cv-4614; 09-cv-4784; 10-cv-1627; 10-cv-2464; 11-cv-3761; 12-mc-19; 12-mc-20;
      12-mc-21; 12-mc-22; 13-mc-71; 13-cv-1825; and 13-cv-1848.



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following paragraph:

       The Trustee shall not make disbursements from the rental income of the Building
       to the Alavi Foundation or 650 Fifth Avenue Company for any purpose.

In the final paragraph of the order, the reference to “2062” is MODIFIED to “2062 (ruling
on Motion 5, pages 12 through 16).”

                                            FOR THE COURT:
                                            Catherine O’Hagan Wolfe, Clerk of Court




                                               2
